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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

JOSEPH RANDOLPH MAYS,

        Plaintiff,

        v.                                         No. 1:20-CV-02197-CKK

FEDERAL BUREAU OF PRISONS and
OFFICE OF INFORMATION POLICY,
UNITED STATES DEPARTMENT OF
JUSTICE,

        Defendants.


DEFENDANTS’ STATEMENT OF MATERIAL FACTS AS TO WHICH THERE IS NO
                        GENUINE ISSUE

     Pursuant to Local Civil Rule 7(h), Defendant Bureau of Prisons (“BOP”), by and through

undersigned counsel, respectfully submits the following Statement of Facts as to Which There is

no Genuine Issue. These facts are taken from the Declaration of Kelly Forbes of BOP, which

accompanies BOP’s Motion for Summary Judgment.

1.      Kelly Forbes is employed by the United States Department of Justice, Federal Bureau of

        Prisons (“BOP”) as a Paralegal for Consolidated Legal Center located at the Federal

        Correctional Complex in Butner, North Carolina (“FCC Butner”). Forbes Decl. ¶ 1.

2.      Kelly Forbes is familiar with the Complaint filed by plaintiff, Joseph Mays, Federal

        Register Number 43487-007, seeking disclosure of records he sought through a Freedom

        of Information Act (“FOIA”) request to the BOP. Id at 2.

3.      Plaintiff is currently in service of 45-year sentence for a conviction of murder in the

        District of Columbia. Id at 4.




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4.    Kelly Forbes is familiar with the procedures followed by the Central Office and the Mid-

      Atlantic Regional Office (“MARO”) of the BOP in responding to requests made pursuant

      to FOIA. Id at 5.

5.    In his Complaint, Plaintiff challenges the BOP’s purported failure to properly respond to

      FOIA Request Nos. 2017-02957, 2017-04802, and 2017-07249. Id at 10; ECF No. 1.

                              FOIA REQUEST NO. 2017-02957

6.    On February 17, 2017, the FOIA/PA Section with BOP’s Central Office received a FOIA

      request from Plaintiff, Register Number 43487-007, seeking copies of various records,

      including:

      a.     Form 409 (Request for Transfer/Application of Management Variable);
      b.     UNICOR Maintenance Activity Log (2016);
      c.     UNICOR/FPI Form 44 – Yearly Chronological FPI Work Performance
             Evaluation Form (October 2012 – August 11, 2016); and,
      d.     UNICOR/FPI Form 96 – Inmate Industrial Employment Action (October 2012 –
             August 11, 2016). Forbes Decl. ¶ 11.

7.    The request was assigned to MARO for processing, and the MARO FOIA processor

      assigned it FOIA Request No. 2017-02957 and placed it into the MARO’s queue for

      processing. Id at 12.

8.    In a response dated March 9, 2017, Plaintiff was provided copies of three (3) pages of

      documents which were determined to be responsive to his request. Id at 13.

9.    In a letter received by the Office of Information Policy (“OIP”) on May 12, 2017,

      Plaintiff appealed the BOP’s response to FOIA Request No. 2017-02957. Id at 14.

10.   In a letter dated August 9, 2017, Plaintiff was notified that his appeal, number DOJ-AP-

      2017-004187, of the BOP’s response to FOIA Request No. 2017-02957 was being

      remanded to the BOP for further review and processing of records located subsequent to

      his appeal. Id at 16.


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11.   In a letter dated August 9, 2017, the BOP’s FOIA/PA Section received the

      Administrative Appeal Remand Memorandum containing instructions for processing the

      appeal following remand of FOIA Request No. 2017-02957. The memorandum directed

      the BOP to reopen the file and to “process the responsive records located subsequent to

      the appeal and produce all releasable records directly to the requester.” Id at 17.

12.   In a response dated August 3, 2017, Plaintiff was provided with a supplemental response

      to FOIA Request No. 2017-02957. The supplemental response consisted of eleven (11)

      pages of responsive documents, which were released to Plaintiff in full. Id at 18.

13.   The three (3) pages originally provided to Plaintiff in the March 9, 2017 response to

      FOIA Request No. 2017-02957 were withheld in part based upon FOIA Exemption 5. Id

      at 19.

14.   Exemption 6 was applied to withhold, in part, pages one (1) and two (2) of the initial

      three pages provided. Id at 20.

15.   Exemption 6 was applied to withhold, in part, the name of the staff members who signed

      the Request for Transfer/Application of Management Variable (dated September 28,

      2016), located at pages 1 and 2, of the initial documents provided to Plaintiff in the

      March 9, 2017 response. Id at 21.

16.   Exemption 7(C) was applied to withhold in part portions of pages 1 and 2. Id at 26.

17.   The segregability analysis addressing the withholding of information was applied

      regarding information withheld pursuant to Exemption 7(C). Id at 28

                               FOIA Request No. 2017-04802

18.   On May 12, 2017, the FOIA/PA Section with BOP’s Central Office received a FOIA

      request from Plaintiff, Register Number 43487-007, seeking copies of various records,

      including:

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      a.     SIS Investigative Report for an incident alleged to have occurred on August 11,
             2016, at the Federal Correctional Institution I in Butner, North Carolina (“FCI
             Butner I”);
      b.     Copy of the “flyer(s)”, including “Names of the Federal Bureau of Prisons
             Institutions that these ‘flyers’ were found/distributed to, including the dates,
             times, quantity of, and names of the staff member(s) who found them [flyers] and
             alerted the FBOP and/or UNICOR, specifically UNICOR Factory Manager Jamie
             Hoskins and Associate Warden S. Ma’at, to them [flyers].”;
      c.     Copies of the communications from all staff members listed above;
      d.     Copy of the information on how, when, and where these “flyers” were created and
             who created them;
      e.     Copy of the names of [Mays’] “contact” people;
      f.     The date the “flyers” were put into circulation;
      g.     A copy of the listing of all logged access to [Mays’] UNICOR computer access
             account; and,
      h.     The date that [Mays’] UNICOR computer access account was closed. Id at 29.



19.   This request was assigned to MARO for processing, and the MARO FOIA processor

      assigned it FOIA Request No. 2017-04802 and placed it into the MARO’s queue for

      processing. Id at 30.

20.   In a response dated May 23, 2017, Plaintiff was provided copies of 3 pages of documents

      which were determined to be responsive to his request.         Portions of the released

      documents were withheld, in part, pursuant to proper FOIA exemptions. Id at 31.

21.   Exemption 6 was applied to withhold, in part, portions of all three (3) pages released to

      Plaintiff in response to FOIA Request No. 2017-04802. Id at 32.

22.   Exemption 6 was applied to withhold, in part, the names of the staff members who

      conducted an investigation into an incident that occurred on August 11, 2016.

      Additionally, Exemption 6 was applied to withhold, in part, the names and information

      provided by a staff member, detailing information obtained from Plaintiff during an

      interview regarding the incident. Id at 33




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23.   Exemption 7(C) was applied to withhold, in part, portions of all three (3) pages released

      to Plaintiff in response to FOIA Request No. 2017-04802.

24.   Exemption 7(C) was applied to withhold in part portions of pages 1 and 2 of 3, for

      privacy reasons. Specifically, the information withheld consists of the names of third-

      party staff members. Id at 35.

25.   The segregability analysis addressing the withholding of information was applied

      regarding information withheld pursuant to Exemption 7(C). Id at 36.

26.   Exemption 7(F) was applied to withhold, in part, portions of all three (3) pages released

      to Plaintiff in response to FOIA Request No. 2017-04802. Id at 37.

27.   Specifically, exemption 7(F) was applied to withhold documents contained in Plaintiff’s

      Special Investigative Services (“SIS”) File, which were compiled as part of Plaintiff’s

      incarceration with the BOP pursuant to its law enforcement mission of protecting

      inmates, staff, and the community. Id at 40.

28.   Exemption 7(F) was applied to withhold, in part, information obtained following an

      investigation into an incident that occurred on August 11, 2016, when Plaintiff

      confronted a staff member. The information withheld consisted of the results of a staff

      member’s interview with inmate Mays, documents reviewed during the course of the

      investigation, conclusions drawn following the investigation into the incident, and

      recommendations made to ensure and promote the orderly running of both the institution,

      FCI Butner I, and the UNICOR operation at the institution. Id at 41

29.   Exemption 7(F) was also applied to pages 1 through 3 to withhold Plaintiff’s monitoring

      and classification within the BOP, as well as the information relied upon to make the

      monitoring and classification decisions. The BOP uses monitoring and classification

      information to manage the inmate population.        Disclosure of the monitoring and

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      classification information would enable inmates to evade the monitoring techniques,

      which in turn could reasonably be expected to endanger the life or physical safety of

      staff, inmates, and general public that these monitoring techniques are designed to

      protect. Id at 42

                                FOIA Request No. 2017-07249

30.   In a letter received by the Office of Information Policy (“OIP”) on June 14, 2017,

      Plaintiff appealed the BOP’s response to FOIA Request No. 2017-04802.             Plaintiff

      contended that the documents provided were not fully responsive to his request, and

      contended there should be additional responsive documents. Id at 43.

31.   In a letter dated June 20, 2017, Plaintiff was notified that his administrative appeal from

      the action of the BOP regarding FOIA Request No. 2017-04802 had been received by the

      OIP on June 14, 2017. The appeal was assigned the number DOJ-AP-2017-004799. Id

      at 44.

32.   In a letter dated September 26, 2017, inmate Mays was notified that his appeal, number

      DOJ-AP-2017-004799, of the BOP’s response to FOIA Request No. 2017-04802 was

      being remanded to the BOP for further processing of the responsive records and for a

      further search for additional records. Id at 45.

33.   In a letter dated September 26, 2017, the BOP’s FOIA/PA Section received the

      Administrative Appeal Remand Memorandum containing instructions for processing the

      appeal following remand of FOIA Request No. 2017-04802. The memorandum directed

      the BOP to reopen the file and to: 1) conduct an additional search for two records

      identified as attachments to the Incident Report, specifically “staff memos” and “flyer

      circulating”; and, 2) reconsider the withholdings to the Incident Report, particularly

      whether Exemption 5 might be properly applied, and whether there is any information

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      that can be further segregated for release or if there is an overall reason why Exemption

      7F is applicable to nearly the entirety of the report. Id at 46.

34.   This appeal was assigned to MARO for processing, and the MARO FOIA processor

      assigned it FOIA Request No. 2017-07249 and placed it into the MARO’s queue for

      processing. Id at 47.

35.   In a response dated October 31, 2017, Plaintff was provided copies of ten (10) pages of

      documents which were determined to be responsive to his request. Portions of the

      released documents were withheld, in full or in part, pursuant to FOIA exemptions. Five

      (5) pages were released in full, four (4) pages were released in part, and one (1) page was

      withheld in full. Id at 48.

36.   In a letter received by the Office of Information Policy (“OIP”) on December 20, 2017,

      Plaintiff appealed the BOP’s response to FOIA Request No. 2017-07429 (supplemental

      response to FOIA Request No. 2017-04802, DOJ-AP-2017-004799). Id at 49.

37.   In a letter dated August 9, 2018, Plaintiff was notified that his appeal, assigned number

      DOJ-AP-2018-001767, of the BOP’s response to FOIA Request No. 2017-07249 was

      affirmed, on partly modified grounds, and that he was being provided with additional

      portions of one page of the previously provided responsive documents. Id at 50.

38.   Exemption 2 was applied to withhold, in part, portions of pages 2-3 of the documents

      released to Plaintiff in response to FOIA Request No. 2017-07249. Id at 51.

39.   The information contained on page 2, withheld in part under Exemption 2, consists of the

      specific location where the investigating staff member conducted the interview of

      Plaintiff, regarding the August 11, 2016 incident. The information contained on page 3,

      withheld in part under Exemption 2, consists of a summary of records gathered during the

      investigation of the August 11, 2016, including statements made by staff members. The

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      withheld information related solely to the internal practice of the BOP regarding how and

      where inmate interviews are conducted, and the types of information considered during

      the course of an investigation. Id at 52.

40.   Exemption (b)(5) was applied to withhold, in part, portions of page 3 of the documents

      released to Plaintiff in response to FOIA Request No. 2017-07249, specifically the

      conclusions drawn from, and recommendations made following, the investigation into the

      August 11, 2016 incident. Id at 56.

41.   Exemption 6 was applied to withhold, in part or in full, portions of pages 1-3, and 9-10,

      of the documents released to Plaintiff in response to FOIA Request No. 2017-07249. Id

      at 57.

42.   Exemption 6 was applied to withhold, in part, the names of the staff members who

      conducted an investigation into an incident that occurred on August 11, 2016, wherein

      Plaintiff confronted a staff member. Additionally, Exemption 6 was applied to withhold,

      in part, the names and information provided by staff members, detailing information

      obtained from Plaintiff during an interview regarding the confrontation. Id at 58.

43.   Exemption 7(C) was applied to withhold, in part or in full, portions of pages 1-3, and 9-

      10, of the documents released to Plaintiff in response to FOIA Request No. 2017-07249.

      Id at 59.

44.   Exemption 7(C) was applied to withhold in part portions of pages 1 and 2 of 3 for privacy

      reasons. Id at 60.

45.   Exemption 7(F) was applied to withhold, in part or in full, portions of pages 1-3, and 9-

      10, of the documents released to Plaintiff in response to FOIA Request No. 2017-07249.

      Id at 62.



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46.   Specifically, exemption 7(F) was applied to withhold documents contained in Plaintiff’s

      Special Investigative Services (“SIS”) File, which were compiled as part of his

      incarceration with the BOP pursuant to its law enforcement mission of protecting

      inmates, staff, and the community. Id at 63.

47.   Exemption 7(F) was applied to withhold, in part, information obtained following an

      investigation into an incident that occurred on August 11, 2016, when Plaintiff

      confronted a staff member. The information withheld consisted of the results of a staff

      member’s interview with Plaintiff, documents reviewed during the course of the

      investigation, conclusions drawn following the investigation into the incident, and

      recommendations made to ensure and promote the orderly running of both the institution,

      FCI Butner I, and the UNICOR operation at the institution. Id at 64.

48.   Exemption 7(F) was also applied to pages 1 through 3 to withhold Plaintiff’s monitoring

      and classification within the BOP, as well as the information relied upon to make the

      monitoring and classification decisions. The BOP uses monitoring and classification

      information to manage the inmate population. Id at 65.

Dated: March 19, 2021                                     Respectfully submitted,

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